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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                       WESTERN DISTRICT OF MISSOURI
                                             CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 2:10-cr-04052-FJG-4

JEFFREY CORDELL PATTERSON                                              USM Number: 23222-045

                                                                       Jeffrey Hilbrenner, Retained
                                                                       401 Locust Street, Suite 302
                                                                       Columbia, MO 65201

                                               JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty on 03/18/13 to Count 1 of the Second Superseding Indictment. Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):

                                                                                                  Date Offense         Count
   Title & Section                                     Nature of Offense                           Concluded         Number(s)

21 U.S.C. 841(a)(1),        Conspiracy to Distribute and Possession w/Intent to Distribute         06/27/2011              1
(b)(1)(B) & 846                                Marijuana and Cocaine


The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant's
economic circumstances.

                                                                                Date of Imposition of Sentence:    08/26/2013



                                                                                                       /s/Fernando J. Gaitan, Jr.
                                                                                                          FERNANDO J. GAITAN, JR.
                                                                                              CHIEF UNITED STATES DISTRICT JUDGE

                                                                                                                  September 4, 2013




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                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 90 Months.

         The Court recommends to the Bureau of Prisons:

                  Defendant be allowed to participate in the 500‐hour residential drug abuse treatment program while incarcerated.



        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons on 11/18/13 at
8:30 A.M. as notified by the Probation or Pretrial Services Office.




                                                            RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                            ______________________________________
                                                                                             UNITED STATES MARSHAL


                                                                              By:__________________________________
                                                                                                  Deputy U.S. Marshal




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                                                       SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 4 Years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

        If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
    other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
    convicted of a felony, unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
    of any contraband observed in plain view by the probation officer;



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11. The defendant shall notify the probation officer within seventy‐two (72) hours of being arrested or questioned by a law
    enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
    the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
    confirm the defendant's compliance with such notification requirement.

                                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall successfully participate in a substance abuse counseling program, which may include urinalysis, sweat
    patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed by the Probation
    Office.

2. The defendant shall satisfy all warrants and/or pending charges within the first 30 days of supervised release.

3. The defendant shall submit his person, and any property, house, residence, office, vehicle, papers, computer, other electronic
    communication or data storage devices or media and effects to a search, conducted by a U.S. Probation Officer at a reasonable
    time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
    release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the
    premises may be subject to searches pursuant to this condition.


                                              ACKNOWLEDGMENT OF CONDITIONS

I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I
have been provided a copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.



_______________________________________                       ____________________
Defendant                                                     Date

________________________________________                       ____________________
United States Probation Officer                                Date




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                                                       CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule of
Payments.


            Total Assessment                                             Total Fine                                       Total Restitution


                   $100.00                                                Waived                                                    N/A




         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule
of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on or
after September 13, 1994 but before April 23, 1996.




                                                             SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

          Lump sum payment of $100.00 due immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court. The Defendant shall receive credit for all payments
previously made toward any criminal monetary penalties imposed.




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